                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 Michael J. Lindell and                         Case No. 22-cv-2290-ECT-ECW
 MyPillow, Inc.,

                      Plaintiffs,

 v.                                                          ORDER

 United States of America, Merrick
 Garland in his official capacity as
 Attorney General of the United States, the
 United States Attorney for the District of
 Minnesota, and Christopher Wray in his
 official capacity as Director of the Federal
 Bureau of Investigation,

                       Defendants.


       Plaintiffs have filed a motion for temporary restraining order and for return of

property pursuant to Fed. R. Crim. P. 41(g). ECF No. 9. The motion will be heard on

Wednesday, October 19, 2022, beginning at 10:00 a.m., in Courtroom 3B of the Warren E.

Burger Federal Building and United States Courthouse, 316 North Robert Street, St. Paul,

Minnesota 55101. In connection with the motion, the following briefing schedule is

ordered:

       1.     Response Memoranda. On or before October 6, 2022, Defendants shall file

              a memorandum in response to Plaintiffs’ motion.

       2.     Reply Memoranda. On or before October 13, 2022, Plaintiffs may (but are

              not required to) file a reply memorandum.
      3.    Except insofar as this order is to the contrary, all memoranda must comply

            with the Federal Rules of Civil Procedure and Local Rules of the District of

            Minnesota.

      4.    Plaintiffs must serve Defendants with a copy of this Order as soon as

            practicable.

      SO ORDERED.

Dated: September 23, 2022                     s/ Eric C. Tostrud
                                              Eric C. Tostrud
                                              United States District Court
